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                                                        - 720 -
                               Nebraska Supreme Court Advance Sheets
                                        304 Nebraska Reports
                                         ADAIR HOLDINGS v. JOHNSON
                                              Cite as 304 Neb. 720



                                   Adair Holdings, LLC, appellant, v.
                                   Dennis G. Johnson et al., appellees.
                                                    ___ N.W.2d ___

                                        Filed January 3, 2020.    No. S-18-1214.

                 1. Standing: Jurisdiction: Parties. Standing is a jurisdictional component
                    of a party’s case because only a party who has standing may invoke the
                    jurisdiction of a court.
                 2. Jurisdiction: Appeal and Error. The question of jurisdiction is a ques-
                    tion of law, upon which an appellate court reaches a conclusion indepen-
                    dent of the trial court.
                 3. Summary Judgment: Appeal and Error. An appellate court affirms a
                    lower court’s grant of summary judgment if the pleadings and admitted
                    evidence show that there is no genuine issue as to any material facts or
                    as to the ultimate inferences that may be drawn from the facts and that
                    the moving party is entitled to judgment as a matter of law.
                 4. ____: ____. In reviewing a summary judgment, an appellate court views
                    the evidence in the light most favorable to the party against whom the
                    judgment was granted, and gives that party the benefit of all reasonable
                    inferences deducible from the evidence.
                 5. Equity: Quiet Title. A quiet title action sounds in equity.
                 6. Equity: Appeal and Error. On appeal from an equity action, an appel-
                    late court tries factual questions de novo on the record and, as to ques-
                    tions of both fact and law, is obligated to reach a conclusion independent
                    of the conclusion reached by the trial court, provided that where credible
                    evidence is in conflict on a material issue of fact, the appellate court
                    considers and may give weight to the fact that the trial judge heard
                    and observed the witnesses and accepted one version of the facts rather
                    than another.
                 7. Statutes: Appeal and Error. Statutory interpretation presents a ques-
                    tion of law, for which an appellate court has an obligation to reach
                    an independent conclusion irrespective of the decision made by the
                    court below.
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           Nebraska Supreme Court Advance Sheets
                    304 Nebraska Reports
                      ADAIR HOLDINGS v. JOHNSON
                           Cite as 304 Neb. 720
 8. Title: Deeds: Tax Sale. Actions challenging title obtained via a tax deed
    are governed by statute.
 9. Title: Deeds: Tax Sale: Quiet Title. Because a void tax deed grants
    color of title in a potential future action, it will always be incumbent
    upon the original landowner to bring an action to quiet title in his or
    her name.
10. Title: Deeds: Tax Sale: Words and Phrases. The word “paid” in Neb.
    Rev. Stat. § 77-1844 (Reissue 2009) includes tendering payment.
11. Title: Deeds: Tax Sale: Jurisdiction: Notice. Neb. Rev. Stat. § 77-1843    (Reissue 2009) has a jurisdictional component that renders a tax deed
    void when the tax deed holder failed to comply with the statutory notice
    requirements prior to acquiring the deed.
12. Title: Deeds: Tax Sale: Notice. A misstatement in the statutory notice
    of the expiration of the time of redemption renders the tax deed invalid.
13. Quiet Title. The party seeking to quiet title must recover, if at all, on
    the strength of his own title and not on the weakness of his adver-
    sary’s title.
14. Equity. The relief ordinarily granted in equity is such as the nature of
    the case, the law, and the facts demand.
15. Equity: Quiet Title. In quiet title actions, one who seeks equity must
    do equity.
16. Appeal and Error. To be considered by an appellate court, an alleged
    error must be both specifically assigned and specifically argued in the
    brief of the party asserting the error.

   Appeal from the District Court for Franklin County: Terri
S. Harder, Judge. Affirmed.
   Deana K. Walocha for appellant.
   Nicholas R. Norton, of Jacobsen, Orr, Lindstrom &amp; Holbrook,
P.C., L.L.O., for appellee Dennis G. Johnson.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
   Freudenberg, J.
                    NATURE OF CASE
   Adair Holdings, LLC, brought a quiet title action after
obtaining a tax deed. Adair Holdings’ predecessor in interest
attempted to provide Dennis G. Johnson, the owner of record,
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         Nebraska Supreme Court Advance Sheets
                  304 Nebraska Reports
                  ADAIR HOLDINGS v. JOHNSON
                       Cite as 304 Neb. 720
with notice of the application for a tax deed via certified mail
and then by publication. However, the notice contained incor-
rect information about the timeframe in which Johnson could
redeem the property. On a motion for summary judgment, the
trial court determined that the deed was void for incorrect
notice and granted Johnson’s counterclaim for quiet title. The
court did not order Johnson to reimburse Adair Holdings for
the delinquent taxes paid by Adair Holdings’ predecessor in
interest. Adair Holdings appeals.

                         BACKGROUND
   Adair Asset Management, L.L.C. (Adair Management),
and BMO Harris Bank purchased a tax sale certificate from
Franklin County. This tax sale occurred in March 2014 for
taxes that were unpaid from 2012. Adair Management then
paid the delinquent taxes for 2013, 2014, and 2015 as well.
   After purchasing the tax certificate, Adair Management
waited the 3-year statutory period set forth by Neb. Rev. Stat.
§ 77-1837 (Reissue 2009) and then sent notice in March 2017
by certified mail to Johnson’s address of record. This notice
indicated that Adair Management would be applying for a tax
deed within 90 days if the property was not redeemed. The
certified mail was marked as “Return to Sender, Unclaimed,
Unable to Forward.” After the attempt to provide notice by mail
failed, notice was published in the Franklin County Chronicle
newspaper on April 5, 12, and 19, 2017.
   The content of the notice included the statutory requirements
of Neb. Rev. Stat. § 77-1831 (Reissue 2009). The notice also
contained a phrase from a more recent version of § 77-1831,
which phrase read:
      If the property is owner occupied, the right of redemp-
      tion shall expire at the close of business on the 45th day
      after the application for tax deed has been made. An addi-
      tional redemption fee equal to twenty percent of all other
      amounts due must be paid if redemption is made after
      application for treasurer’s deed has been made.
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            Nebraska Supreme Court Advance Sheets
                     304 Nebraska Reports
                      ADAIR HOLDINGS v. JOHNSON
                           Cite as 304 Neb. 720
This passage was a part of § 77-1831 (Cum. Supp. 2012); how-
ever, the statutory scheme contains a savings clause specify-
ing that the 2009 law governs all tax sale certificates sold and
issued between January 1, 2010, and December 31, 2014.1 It
does not appear from the record that Adair Management sent
a copy of the published notice to Johnson’s address of record.
   Adair Management and BMO Harris Bank applied for the
tax deed on July 19, 2017. The application included an affidavit
by counsel stating that Adair Management had complied with
the statutory requirements and provided notice via unclaimed
certified mail and by publication. The treasurer issued a tax
deed on July 25, 2017, and recorded it on July 31. In August,
Adair Management and BMO Harris Bank provided a quit-
claim deed to Adair Holdings for land described as follows:
“The Southeast Quarter (SE 1⁄4) of Section Five (5), Township
Four (4) North, Range Fourteen (14), West of the 6th P.M. in
Franklin County, Nebraska.”
   In October 2017, Adair Holdings commenced an action in
equity to quiet title to the real estate in its name. Johnson filed
an answer and a counterclaim requesting the court to quiet title
in his name. Johnson argued that (1) the notice was statuto-
rily defective for including a misstatement of law and (2) the
notice was constitutionally defective according to Neb. Const.
art. VIII, § 3, which requires that “occupants shall in all cases
be served with personal notice before the time of redemption
expires.” In April 2018, Johnson served Adair Holdings with a
set of requests for admissions and received no response.
   Johnson moved for summary judgment, and a hearing was
held in September 2018. In an affidavit entered at the summary
judgment hearing, Johnson averred that he first discovered the
existence of the tax deed in early August 2017. Johnson claims
that he then reviewed the published notice and relied on the
notice in believing he had 45 days to redeem the property.
The 45th day from the issuance of the tax deed was Saturday,

1
    See Neb. Rev. Stat. § 77-1837.01 (Cum. Supp. 2016).
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            Nebraska Supreme Court Advance Sheets
                     304 Nebraska Reports
                      ADAIR HOLDINGS v. JOHNSON
                           Cite as 304 Neb. 720
September 2, 2017. Johnson attempted to tender payment to the
Franklin County treasurer on the first business day following
September 2, and the treasurer refused payment because the tax
deed had been issued.
   Johnson argued that the notice contained a misstatement of
law, as admitted by Adair Holdings’ failure to respond to his
requests for admissions, and that thus, the tax deed was void.
Johnson also argued that Adair Management failed to inspect
the land and should have served him personal notice pursuant
to the Nebraska Constitution.
   The court granted the motion for summary judgment in
favor of Johnson, citing Adair Management’s failure to comply
with the notice requirements. The order (1) ruled that the tax
deed was void, (2) ruled that the tax sale certificate was invalid
and of no force and effect, and (3) quieted title to the property
in Johnson. Adair Holdings appeals.
                 ASSIGNMENTS OF ERROR
   Adair Holdings argues that the district court erred in granting
summary judgment to Johnson. Specifically, Adair Holdings
argues that (1) the tax sale certificate is still valid because the
voiding of a tax deed does not extinguish the lien for delin-
quent taxes and (2) the tax deed is not void because all the
statutory requirements for notice were met and Johnson did
not detrimentally rely on the misstatement of the law contained
within the notice.
                  STANDARD OF REVIEW
   [1,2] Standing is a jurisdictional component of a party’s
case because only a party who has standing may invoke the
jurisdiction of a court.2 The question of jurisdiction is a ques-
tion of law, upon which an appellate court reaches a conclusion
independent of the trial court.3

2
    Wisner v. Vandelay Investments, 300 Neb. 825, 916 N.W.2d 698 (2018).
3
    Id.                                   - 725 -
            Nebraska Supreme Court Advance Sheets
                     304 Nebraska Reports
                      ADAIR HOLDINGS v. JOHNSON
                           Cite as 304 Neb. 720
   [3] An appellate court affirms a lower court’s grant of sum-
mary judgment if the pleadings and admitted evidence show
that there is no genuine issue as to any material facts or as
to the ultimate inferences that may be drawn from the facts
and that the moving party is entitled to judgment as a matter
of law.4
   [4] In reviewing a summary judgment, an appellate court
views the evidence in the light most favorable to the party
against whom the judgment was granted, and gives that
party the benefit of all reasonable inferences deducible from
the evidence.5
   [5,6] A quiet title action sounds in equity.6 On appeal from
an equity action, an appellate court tries factual questions de
novo on the record and, as to questions of both fact and law,
is obligated to reach a conclusion independent of the conclu-
sion reached by the trial court, provided that where credible
evidence is in conflict on a material issue of fact, the appellate
court considers and may give weight to the fact that the trial
judge heard and observed the witnesses and accepted one ver-
sion of the facts rather than another.7
   [7] Statutory interpretation presents a question of law, for
which an appellate court has an obligation to reach an inde-
pendent conclusion irrespective of the decision made by the
court below.8
                          ANALYSIS
   [8,9] Disputes involving land that has been subjected to a
government tax sale presents a unique situation where there
are often two interrelated but distinct causes of action. Actions
challenging title obtained via a tax deed are governed by

4
    Williamson v. Bellevue Med. Ctr., ante p. 312, 934 N.W.2d 186 (2019).
5
    Id.6
    Wisner v. Vandelay Investments, supra note 2.
7
    Id.8
    Id.                                  - 726 -
             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                      ADAIR HOLDINGS v. JOHNSON
                           Cite as 304 Neb. 720
statute. However, a successful challenge to a tax deed does not
resolve the underlying land dispute. Because a void tax deed
grants color of title in a potential future action, it will always
be incumbent upon the original landowner to bring an action
to quiet title in his or her name.9 This case presents Adair
Holdings and Johnson’s quiet title actions, as well as Johnson’s
action challenging Adair Management’s tax deed under the
provisions of Neb. Rev. Stat. §§ 77-1801 to 77-1863 (Reissue
2009). We first address the court’s order granting summary
judgment in favor of Johnson on his statutory cause of action
challenging the tax deed.

               Validity of Adair Management’s
                             Tax Deed
    Sections 77-1801 to 77-1863 govern tax deeds and provide
the basic process by which a county may, through a tax sale,
sell land to third parties as a means of recovering the landown-
er’s delinquent taxes.10 This court has long held that the statu-
tory system for tax deeds found in chapter 77, article 18, of the
Nebraska Revised Statutes must be strictly complied with and
is to be strictly construed in favor of the landowner.11
    Under the statutory scheme, a third party who pays a land-
owner’s delinquent taxes receives in exchange a tax sale cer-
tificate and a tax lien against the property.12 Title to the land
does not immediately transfer to the tax sale certificate holder.
These statutes require that a certificate holder must wait 3
years in order to either apply for a tax deed or foreclose upon
the property.13

 9
     See, White v. Musser, 87 Neb. 628, 127 N.W. 1058 (1910); Annot., 38
     A.L.R.2d 986 (1954).
10
     See §§ 77-1801 to 77-1822.
11
     See, King v. Boettcher, 96 Neb. 319, 147 N.W. 836 (1914); Howell v.
     Jordan, 94 Neb. 264, 143 N.W. 217 (1913).
12
     See §§ 77-1801 to 77-1863.
13
     § 77-1837 and Neb. Rev. Stat. § 77-1902 (Reissue 2009).
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             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                      ADAIR HOLDINGS v. JOHNSON
                           Cite as 304 Neb. 720
   During this 3-year period, the landowner maintains the right
to redeem the land by paying the delinquent taxes along with
a statutorily set interest rate and costs.14 If, at the end of the
3 years, the property has not been redeemed, the certificate
holder has only 6 months to request a tax deed or foreclose
before both the certificate and tax lien expire.15
   In order to apply for a tax deed during this 6-month window,
the certificate holder must provide proper notice to all parties
of record.16 The certificate holder must submit an affidavit to
the county treasurer to demonstrate that all of the statutory
requirements have been satisfied before a tax deed can be
issued.17 Once a tax deed is issued, §§ 77-1843 and 77-1844
specify how a landowner can acquire standing to challenge a
tax deed under the statutes and what proof is required.
   [10] Johnson’s counterclaim seeking to set aside Adair
Management’s tax deed raises a threshold issue of whether
Johnson had standing under § 77-1844, which states that “[n]o
person shall be permitted to question the title acquired by a
treasurer’s deed without first showing . . . that all taxes due
upon the property have been paid by such person . . . .” Section
77-1844 provides in full:
         No person shall be permitted to question the title
      acquired by a treasurer’s deed without first showing that
      he, or the person under whom he claims title, had title to
      the property at the time of the sale, or that the title was
      obtained from the United States or this state after the sale,
      and that all taxes due upon the property had been paid by
      such person or the persons under whom he claims title
      as aforesaid.
In applying this statute and its predecessors, we have held that
the tender of payment to the county treasurer is sufficient to

14
     §§ 77-1824 to 77-1830.
15
     § 77-1856.
16
     § 77-1831.
17
     §§ 77-1832 and 77-1833.
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             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                       ADAIR HOLDINGS v. JOHNSON
                            Cite as 304 Neb. 720
grant the party standing.18 We have understood the treasurer to
be the intended payee of the payment described by § 77-1843
and have recognized that the statutory scheme does not actu-
ally allow the treasurer to accept a redemption payment after
the tax deed is issued.19 We have explained that it would place
an unacceptable barrier to litigation to condition standing on
something outside a plaintiff’s control.20 Therefore, the word
“paid” in § 77-1844 includes tendering payment. Construing
§ 77-1844 otherwise would present an absurd result of render-
ing the remedy of § 77-1843 meaningless and would be con-
trary to the principle that the statutory framework should be
interpreted in favor of the landowner.21
   It is undisputed that Johnson attempted to tender pay-
ment to the county treasurer. He did so outside the statutory
redemption period, but within the redemption period that Adair
Management set forth in the public notice. It is also undisputed
that because the tax deed had already been issued, the treasurer
refused to accept the payment. Accordingly, the district court
did not err in determining as a matter of law that Johnson’s
attempt to tender payment complied with § 77-1844 and gives
him standing to assert his counterclaim.
   [11] Once a party has established standing, § 77-1843 speci-
fies four methods for a landowner to challenge the tax deed. In
addition to these enumerated ways of invalidating a tax deed,
we have also held that § 77-1843 has a jurisdictional compo-
nent that renders a tax deed void when the tax deed holder
failed to comply with the statutory notice requirements prior to
acquiring the deed.22 Section 77-1843 states:

18
     See, Ottaco Acceptance, Inc. v. Larkin, 273 Neb. 765, 733 N.W.2d 539     (2007); Howell v. Jordan, supra note 11.
19
     § 77-1824; Ottaco Acceptance, Inc. v. Larkin, supra note 18.
20
     See, Ottaco Acceptance, Inc. v. Larkin, supra note 18; Howell v. Jordan,
     supra note 11.
21
     See King v. Boettcher, supra note 11.
22
     Thomsen v. Dickey, 42 Neb. 314, 60 N.W. 558 (1894).
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             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                       ADAIR HOLDINGS v. JOHNSON
                            Cite as 304 Neb. 720
         In all controversies and suits involving the title to real
      property claimed and held under and by virtue of a deed
      made substantially by the treasurer in the manner pro-
      vided by sections 77-1831 to 77-1842, the person claiming
      the title adverse to the title conveyed by such deed shall
      be required to prove, in order to defeat the title . . . .
(Emphasis supplied.)
   When interpreting § 77-1843 and its predecessors, we
explained that the language of “in the manner provided by”
requires strict compliance with the listed statutes in order for
the treasurer to have acquired statutory authority to issue the
tax deed.23
   We agree with the district court that there is no dispute that
Adair Management failed to strictly comply with the notice
provision of § 77-1831 (Reissue 2009), which specifies the
timing and content of the notice that must be served before a
tax deed will be granted. Adair Management’s notice provided
the terms of notice set forth by § 77-1831 (Cum. Supp. 2012),
which allowed for an owner who occupies the land to redeem
within 45 days of the tax deed being issued. However, this was
not the version applicable to Adair Management’s tax certifi-
cate from the tax sale of Johnson’s land. Section 77-1837.01
specified that based on the date of sale for the tax certificate
for Johnson’s land, the 2009 version of the statutes should be
applied. Sections 77-1824 and 77-1831 (Reissue 2009) speci-
fied that Johnson’s right to redeem expired upon the issuance
of the tax deed.
   [12] We have held that a misstatement in the statutory notice
of the expiration of the time of redemption renders the tax deed
invalid.24 It is uncontested that the notice Adair Management
mailed to Johnson and published in the newspaper contained

23
     See, Brokaw v. Cottrell, 114 Neb. 858, 211 N.W. 184 (1926); Thomsen v.
     Dickey, supra note 22.
24
     See, Kuska v. Kubat, 147 Neb. 139, 22 N.W.2d 484 (1946); Stewart v.
     Ridenour, 97 Neb. 451, 150 N.W. 206 (1914).
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             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                       ADAIR HOLDINGS v. JOHNSON
                            Cite as 304 Neb. 720
a misstatement of the time available for Johnson to redeem
the land. Therefore, the district court correctly determined as
a matter of law that the tax deed issued to Adair Management
is void.
   We disagree with Adair Holdings’ contention that Johnson
was required to show detrimental reliance as a condition for
invalidating a tax deed for inaccurate notice. Adair Holdings
provides no case law, and this court is not aware of any prec-
edent in Nebraska or in other states, that would support the
creation of such a requirement. Placing a burden on the land-
owner to show detrimental reliance on the inaccurate notice is
not supported by any part of the statutory scheme.
                     Johnson’s Counterclaim
                         for Quiet Title
    [13] We turn next to the question of whether the district
court erred in granting summary judgment in favor of Johnson
on his quiet title claim. Quiet title actions generally require
(1) allegations of facts showing his or her ownership, title,
or interest in the property in dispute; (2) his or her actual or
constructive possession (if possession is a condition of the
right to maintain the action) or entitlement to possession of
the property in dispute; and (3) the existence and invalidity of
the defendant’s interest, claim, or lien adverse to the plaintiff.25
Moreover, the party seeking to quiet title must recover, if at all,
on the strength of his own title and not on the weakness of his
adversary’s title.26
    Johnson presented uncontested evidence that he was the
landowner of record and held a deed registered with the county
prior to the tax sale. By invalidating Adair Holding’s deed,
Johnson demonstrated that no one else had a superior claim to
title. Such facts are sufficient to determine as a matter of law
Johnson’s legal claim to title.

25
     See 65 Am. Jur. 2d Quieting Title § 67 (2011).
26
     See Williams v. Daughetee, 72 Neb. 270, 100 N.W. 316 (1904).
                                    - 731 -
             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                       ADAIR HOLDINGS v. JOHNSON
                            Cite as 304 Neb. 720
    [14,15] But, a quiet title action sounds in equity.27 The relief
ordinarily granted in equity is such as the nature of the case,
the law, and the facts demand.28 In quiet title actions, we have
generally applied the maxim that “‘[one] who seeks equity
must do equity.’”29 Specifically, we have required a land-
owner to do the equity of paying to the clerk of the court the
delinquent taxes with costs and interest before obtaining the
equitable relief of quiet title.30 Adair Holdings thus argues on
appeal that the district court erred in quieting title in Johnson’s
name without ordering Johnson to pay to Adair Holdings the
delinquent taxes, with costs and interest.
    Adair Holdings did not assign as error that the district court
erred by not ordering such a payment. It merely proposes in
its argument that if we affirm the district court’s determination
that the tax deed was void, we should remand the matter to the
district court to determine the amount of the delinquent taxes.
Although not entirely clear, Adair Holdings presumably wishes
us to do this so that such amount will be ordered as part of a
judgment payable by Johnson to Adair Holdings.
    [16] To be considered by an appellate court, an alleged error
must be both specifically assigned and specifically argued in
the brief of the party asserting the error.31 Even if we view this
argument as encompassed by Adair Holdings’ assignment of
error that the trial court erred when it held that the tax sale cer-
tificate was invalid and of no force and effect, Adair Holdings’
argument lacks merit under the facts of this case. The equitable
maxim that one who seeks equity must do equity is not the
only applicable legal principle to a case such as this. In fact,

27
     Wisner v. Vandelay Investments, supra note 2.
28
     Countryside Developers v. Peterson, 9 Neb. App. 798, 620 N.W.2d 124     (2000).
29
     Wygant v. Dahl, 26 Neb. 562, 576, 42 N.W. 735, 739 (1889) (Maxwell, J.,
     concurring). See Dillon v. Merriam, 22 Neb. 151, 34 N.W. 344 (1887).
30
     See, Howell v. Jordan, supra note 11; Wygant v. Dahl, supra note 29.
31
     Diamond v. State, 302 Neb. 892, 926 N.W.2d 71 (2019).
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             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                        ADAIR HOLDINGS v. JOHNSON
                             Cite as 304 Neb. 720
the case law that Adair Holdings relies on is inapposite to the
case at bar because, in those cases, the former certificate holder
asked for recovery for payments made and presented evidence
to the trial court that the former certificate holder had paid the
delinquent taxes to the county.
    In Wygant v. Dahl, for instance, we held that a tax deed
holder who failed to bring a quiet title action within the statu-
tory period was nevertheless entitled under equity to be reim-
bursed by the landowner in possession who had brought a quiet
title action against the tax deed holder. But we emphasized
that the tax deed holder had raised the right to reimburse-
ment below. We cited with approval a case in which the Iowa
Supreme Court held that notwithstanding the maxim that one
who seeks equity must do equity, if a tax deed holder does not
in the proceedings below make a request for equitable relief in
the form of a recovery of a tax sale payment, such relief may
not be raised for the first time on appeal.32
    Adair Holdings did not raise below the issue of recovery
for payment of the delinquent taxes. We require arguments and
theories of litigation to be raised below in order to provide suf-
ficient notice to opposing parties.33 Unless the landowner has
notice that the certificate holder is claiming a right to repay-
ment, the landowner is unlikely to plead and present evidence
of any possible equitable defenses which may prevent the tax
deed holder from recovering. Adair Holdings had an oppor-
tunity to request alternate forms of relief in its pleadings and
in its answer to Johnson’s counterclaim for quiet title. Adair
Holdings did not state any claim for relief in the form of reim-
bursement by Johnson of the delinquent taxes paid by Adair
Management. Neither did Adair Holdings raise the right to any
such relief at any other point in the proceedings below.

32
     See Wygant v. Dahl, supra note 29, citing Tabler v. Callanan, 49 Iowa 362     (1878).
33
     See State v. Kruse, 303 Neb. 799, 931 N.W.2d 148 (2019).
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         Nebraska Supreme Court Advance Sheets
                  304 Nebraska Reports
                  ADAIR HOLDINGS v. JOHNSON
                       Cite as 304 Neb. 720
   This matter is further complicated by the fact that Adair
Holdings is not the entity that actually paid the delinquent
taxes to the county. The record demonstrates that a quitclaim
deed from Adair Management and BMO Harris Bank trans-
ferred whatever interest they had in the land to Adair Holdings.
But the record below provides no indication that any claims
or rights to relief held by Adair Management or BMO Harris
Bank were assigned to Adair Holdings. On the record pre-
sented, to require Johnson to pay Adair Holdings would pro-
vide Adair Holdings with compensation for a payment made by
a third party without a sufficient showing that Adair Holdings
has obtained standing to assert such a claim.
   We hold, on the facts of this case, that summary judg-
ment in favor of Johnson’s counterclaim for quiet title was
proper and that equity does not require relief to be granted to
Adair Holdings. Adair Holdings did not request any forms of
equitable relief below and did not assign any errors related
to equitable relief on appeal. We do not make any determi-
nation of what rights or relief, if any, Adair Holdings, Adair
Management, and/or BMO Harris Bank may be entitled to in a
separate action.
                        CONCLUSION
   For the reasons set forth above, we affirm the decision of the
district court.
                                                    Affirmed.
